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IN THE UNITED STATES DISTRICT COURT ~*
AUG 27 2019

FOR THE DISTRICT OF PUERTO RICO

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UNITED STATES OF AMERICA, © aM Pet

Plaintiff, Tiger
CASE NO. 16-591 (GAG)

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[51] JOSE A. LOPEZ-MAGRIS,
a/k/a “Cirilo”,
Defendant.

 

 

PLEA AGREEMENT
(Pursuant to Rule 11(c)(1)(B) FRCP)

TO THE HONORABLE COURT:

COMES NOW the United States of America through its counsel Rosa Emilia Rodriguez-
Vélez, United States Attorney for the District of Puerto Rico; José Capé-Iriarte, Assistant United
States Attorney, Chief, Criminal Division; Alberto L6pez-Rocafort, Assistant U.S. Attorney,
Deputy Chief, Gang Unit; Vanessa E. Bonhomme, Assistant U.S. Attorney; Defendant's counsel,
Marie L. Cortes-Cortes, Esq.; and Defendant [51] JOSE A. LOPEZ-MAGRIS, pursuant to Rule
11(c)(1)(B) of the Federal Rules of Criminal Procedure, state to this Honorable Court, that they
have reached an agreement, the terms and conditions of which are as follows:

I. COUNTS TO WHICH DEFENDANT PLEADS GUILTY

The defendant agrees to plead guilty to COUNT ONE of the Indictment:

COUNT ONE: (Conspiracy to Possess with Intent to Distribute Controlled
Substances) -

Beginning on a date unknown, but no later than in or about the year 2012, and continuing
up to and until the return of the instant Indictment, in the Municipality of San Juan, District of

Puerto Rico and within the jurisdiction of this Court, defendant, [51] JOSE A. LOPEZ-MAGRIS

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and other persons, did knowingly and intentionally, combine, conspire, and agree with each other

and with diverse other persons known and unknown to the Grand Jury, to commit an offense
against the United States, that is, to knowingly and intentionally possess with intent to distribute
controlled substances, to wit: in excess of two hundred and eighty (280) grams of a mixture or
substance containing a detectable amount of cocaine base (crack), a Schedule II Narcotic Drug
Controlled Substance; in excess of one (1) kilogram of a mixture or substance containing a
detectable amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five
(5) kilograms of a mixture or substance containing a detectable amount of cocaine, a Schedule II,
Narcotic Drug Controlled Substance; a mixture or substance containing a detectable amount of
marijuana, a Schedule I, Controlled Substance; a mixture or substance containing a detectable
amount of Oxycodone (commonly known as Percocet), a Schedule IJ Controlled Substance; and a
mixture or substance containing a detectable amount of Alprazolam (commonly known as Xanax),
a Schedule IV Controlled Substance; within one thousand (1,000) feet of a real property
comprising the Vista Hermosa Public Housing Project (hereinafter “Vista Hermosa”), a housing
facility owned by a public housing authority, within one thousand (1,000) feet of a real property
comprising a public or private elementary, vocational, or secondary school, and within one
thousand (1,000) feet of a playground, all within the Municipality of San Juan, Puerto Rico. All in
violation of Title 21, United States Code, §§ 841(a)(1), 846, and 860.

2. MAXIMUM PENALTIES

The penalty for the offense charged in COUNT ONE of the Indictment is a term of

imprisonment which shall not be less than ten (10) years and up to two (2) terms of life, a fine not

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to exceed twenty million dollars ($20,000,000.00) and a term of supervised release of not less than

ten (10) years in addition to any term of incarceration, pursuant to Title 21, United States Code,
§§ 841(b)(1)(A), 846, and 860.

However, for purposes of this plea agreement, the defendant is being held responsible for
the possession of at least 500 grams but less than 2 kilograms of cocaine. Therefore, if the Court
accepts this stipulation, the defendant faces a minimum term of imprisonment of five (5) years up
to a maximum term of imprisonment of eighty (80) years, a fine not to exceed ten million dollars
($10,000,000.00), and a term of supervised release of not less than eight (8) years in addition to
any term of incarceration, pursuant to Title 21, United States Code, §§ 841(b)(1)(C), 846, and 860.

3. SPECIAL MONETARY ASSESSMENT

Prior to Defendant’s change of plea hearing, the Defendant shall pay a special monetary
assessment of one hundred dollars ($100.00) per count of conviction.

4, ADVISORY NATURE OF THE SENTENCING GUIDELINES

The defendant is aware that pursuant to the decisions issued on January 12, 2005, by the
Supreme Court of the United States in the case of United States v. Booker, 543 U.S. 220 (2005),
the Sentencing Guidelines are no longer mandatory and must be considered effectively advisory.

Be RULE 11(c)(1)(B) WARNINGS

The defendant is aware that the defendant's sentence is within the sound discretion of the
sentencing judge, but the same may be imposed following the United States Sentencing Guidelines,
Policy Statements, Application, and Background Notes as advisory to the imposition of sentence.

The defendant is aware that the Court has jurisdiction and authority to impose any sentence within

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the statutory maximum set for the offense to which the defendant pleads guilty. If the Court

should impose a sentence up to the maximum established by statute, the defendant cannot, for that
reason alone, withdraw a guilty plea, and will remain bound to fulfill all of the obligations under
this plea agreement.

6. FINES AND RESTITUTION

The Court may, pursuant to Section 5E1.2(1) of the Sentencing Guidelines, Policy
Statements, Application, and Background Notes, order the defendant to pay a fine sufficient to
reimburse the government for the costs of any imprisonment and/or supervised release ordered.
Defendant further agrees to provide financial statements as requested by the United States.

7 SENTENCING GUIDELINES CALCULATIONS

Although the Guidelines are now advisory in nature, the sentencing court, in imposing
sentence, is required to consider the Guideline “sentencing range established for the applicable
category of the offense committed by the defendant.” United States v. Booker, 543 U.S. 220
(2005). The United States and Defendant agree to recommend the following Sentencing

Guidelines’ calculations:

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Title 21, United States Code, §§ 841(a)(1), 846, and 860

SENTENCING GUIDELINES CALCULATION TABLE (COUNT ONE)

 

 

 

 

 

 

 

 

 

BASE OFFENSE LEVEL [U.S.S.G. §2D1.1(c)(8)] 24
(Possession of at least 500 grams but less than 2 kilograms of cocaine)
PROTECTED LOCATION [U.S.S.G. §2D1.2(a)(1)] 19
(Distribution within 1,000 of PHP/School Zone)
Acceptance of Responsibility [§ 3E1.1] -3
TOTAL OFFENSE LEVEL 23
IMPRISONMENT RANGE IF CRIMINAL HISTORY CATEGORY I 46-57
IF CRIMINAL HISTORY CATEGORY II 51-63
Ye IF CRIMINAL HISTORY CATEGORY III 57-71
IF CRIMINAL HISTORY CATEGORY IV 70-87
IF CRIMINAL HISTORY CATEGORY V 84-105
oe" IF CRIMINAL HISTORY CATEGORY VI 92-115
months
ZONE D
b 8. CRIMINAL HISTORY CATEGORY

The parties make NO stipulation as to defendant’s criminal history.

8. SENTENCE RECOMMENDATION

The parties agree and recommend that the defendant and the United States will jointly

recommend a sentence of ninety-six (96) months imprisonment, regardless of criminal history

category. The defendant recognizes a 60-month minimum mandatory sentence is applicable. The

defendant would agree that this sentence recommendation is reasonable pursuant to Title 18,

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United States Code, Section 3553(a).

10. WAIVER OF APPEAL

Defendant knowingly and voluntarily agrees that, if the imprisonment sentence imposed
by the Court is one hundred five (105) months or less, the defendant waives the right to appeal any
aspect of this case’s judgment and sentence, including but not limited to the term of imprisonment
or probation, restitution, fines, forfeiture, and the term and conditions of supervised release.

11. NO FURTHER ADJUSTMENTS OR DEPARTURES

The United States and the defendant agree that no departures shall be requested by the

J” parties. This Plea Agreement has taken into consideration all Title 18, United States Code, Section

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3553 factors. Any recommendation for a term of imprisonment below what has been stipulated
in paragraph (9) above will constitute a material breach of the plea agreement.

12. JURISDICTIONAL LIMITS OF PLEA AGREEMENT

It is specifically understood by the defendant, that this plea agreement does not extend to
or bind other federal districts, federal civil and/or tax authorities, and/or State or Commonwealth
of Puerto Rico tax authorities, civil and/or State or Commonwealth of Puerto Rico law enforcement
authorities.

13. SATISFACTION WITH COUNSEL

The defendant, represents to the Court that defendant is satisfied with defendant’s attorney,
Marie L. Cortes-Cortes, Esquire, and hereby indicates that counsel has rendered effective legal

assistance.
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14. RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA

Defendant understands that by entering into this agreement, Defendant surrenders certain
rights as provided in this agreement. Defendant understands that the rights of criminal defendants
include the following:

a. If the Defendant had persisted in a plea of not guilty to the charges, Defendant
would have had the right to a speedy jury trial with the assistance of counsel. The trial may be
conducted by a judge sitting without a jury if the Defendant, the United States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay persons
selected at random. The Defendant and the Defendant's attorney would assist in selecting the
jurors by removing prospective jurors for cause where actual bias or other disqualification is
shown, or by removing prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a verdict of either guilty or not
guilty. The jury would be instructed that the Defendant is presumed innocent that it could not
convict the Defendant unless, after hearing all the evidence, it was persuaded of the Defendant's
guilt beyond a reasonable doubt, and that it was to consider each charge separately.

ic. If a trial is held by the judge without a jury, the judge would find the facts and, after
hearing all the evidence and considering each count separately, determine whether or not the
evidence established the Defendant's guilt beyond a reasonable doubt.

d. At a trial, the United States would be required to present its witnesses and other
evidence against the Defendant. The Defendant would be able to confront those witnesses and

Defendant's attorney would be able to cross-examine them. In turn, the Defendant could present

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witnesses and other evidence on Defendant's own behalf. If the witnesses for the Defendant

would not appear voluntarily, Defendant could require their attendance through the subpoena
power of the Court.

ie: At a trial, the Defendant could rely on the privilege against self-incrimination to
decline to testify, and no inference of guilty could be drawn from the Defendant's refusal to testify.
If the Defendant desired to do so, the Defendant could testify on the Defendant's own behalf.

15. DISMISSAL OF REMAINING COUNTS:

At sentencing, the United States shall request the dismissal of the remaining counts of the
Indictment.

16. STIPULATED VERSION OF FACTS

The accompanying Stipulated Version of Facts signed by the defendant is hereby
incorporated into this plea agreement. Defendant adopts the Version of Facts and agrees that the
facts therein are accurate in every respect and that, had the matter proceeded to trial, the United
States would have proven those facts beyond a reasonable doubt. Further, the defendant agrees
that said statement of facts can be used by the sentencing judge in determining the application of
any sentencing guidelines in the instant case.

17. LIMITATIONS OF PLEA AGREEMENT

This plea agreement binds only the United States Attorney’s Office for the District of
Puerto Rico and the Defendant; it does not bind any other federal district, state or local authorities.

18. ENTIRETY OF PLEA AGREEMENT

The United States and the defendant acknowledge that the above-stated terms and

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conditions constitute the entire plea agreement between the parties and deny the existence of any

other terms and conditions not stated herein. No additional promises, terms or conditions will be
entered unless in writing and signed by all parties.

19. AMENDMENTS TO PLEA AGREEMENT

No other promises, terms, conditions will be entered unless in writing, signed by all parties.

20. VOLUNTARINESS OF GUILTY PLEA

It is understood by the defendant, that defendant is entering into this plea agreement without
compulsion, threats, or any other promises from the United States Attorney or any of his agents.
The defendant acknowledges that no threats have been made against the defendant and that the

Ge defendant is pleading guilty freely and voluntarily because the defendant is, in fact, guilty.
21. POTENTIAL IMPACT ON IMMIGRATION STATUS
a sir? The Defendant hereby agrees and recognizes that, if the Defendant is not a United States

Citizen, his plea of guilty in this case may have an impact in his immigration status. Among others,
the Defendant is subject to removal from the United States; the defendant may be barred,
temporarily or permanently, from reentering the United States; a criminal conviction may affect the
Defendant’s ability to apply for United States citizenship, and other benefits. Further, the
Defendant agrees and recognizes that any term of supervised release imposed by the Court may be

suspended, as long as he remains outside the United States. However, should Defendant, at any

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time, reenter the United States he must immediately report to a U. S. Probation Office and otherwise

comply with any conditions of supervised release that may be imposed herein.

RESPECTFULLY SUBMITTED.
ROSA EMILIA RODRIGUEZ-VELEZ
United States Attorney

 
 
     

   

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Counsel for Defend

Dated: If t/a 7 >0/F

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Alberto Lopez-Rocafort Jose A. Lop&z-Magris 7
Assistant U.S. Attorney Defendant

Deputy Chief, oe Unit Dated: 6/2 7. Zov"

Dated: Aho sarge

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Vanessa E. Bonhomme
Assistant U.S. Attorney
Dated: 7/4| ZOaNd

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I have consulted with my counsel and fully understand all of my rights with respect to the
Indictment pending against me. Further, I have consulted with my attorney and fully understand
my rights with respect to the provisions of the Sentencing Guidelines, Policy Statements,
Application, and Background Notes which may apply in my case. I have read this Plea
Agreement and carefully reviewed every part of it with your attorney. My counsel has translated
the plea agreement it to me in the Spanish language and I have no doubts as to the contents of the

agreement. I fully understand this agreement and | voluntarily agree to it.

 

Date: OL 27 [29 Se eae anys
_ . Jose A. Lope#Magri
Defendant

I am the attorney for the Defendant. I have fully explained to the Defendant his rights
with respect to the pending Superseding Indictment. Further, | have reviewed the provisions of
the Sentencing Guidelines, Policy Statements, Application, and Background Notes, and I have
fully explained to the Defendant the provisions of those guidelines which may apply in this case.
I have carefully reviewed every part this Plea Agreement with the Defendant. I have translated
the plea agreement and explained it in the Spanish language to the defiacdane who has expressed
having no doubts as to the contents of the agreement. To my knowledge, the Defendant is entering
into this agreement voluntarily, intelligently and with full knowledge of all consequences of

Defendant’s plea of guilty.

Date: 4 bo 26/9

 

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GOVERNMENT’S VERSION OF THE FACTS

In conjunction with the submission of the accompanying plea agreement in this case, The
United States submits the following statement setting forth the United States version of the facts
leading to the defendant’s acceptance of criminal responsibility for defendant’s violations of Title
21, United States Code, Sections 841, 846, and 860. The following is a summary of the facts the
United States would have proven beyond reasonable doubt if this matter would have gone to trial:

Beginning on a date unknown, but no later than in or about the year 2012, and continuing
up to and until the return of the instant Indictment, in the Municipality of San Juan, District of
Puerto Rico and within the jurisdiction of this Court, [51] JOSE A. LOPEZ-MAGRIS and his
co-defendants did knowingly and intentionally, combine, conspire, and agree with each other and
with diverse other persons known and unknown to the Grand Jury, to commit an offense against
the United States, that is, to knowingly and intentionally possess with intent to distribute controlled
substances, to wit: in excess of two hundred and eighty (280) grams of a mixture or substance
containing a detectable amount of cocaine base (crack), a Schedule II Narcotic Drug Controlled
Substance; in excess of one (1) kilogram of a mixture or substance containing a detectable amount
of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5) kilograms of a
mixture or substance containing a detectable amount of cocaine, a Schedule I, Narcotic Drug
Controlled Substance; a mixture or substance containing a detectable amount of marijuana, a
Schedule I, Controlled Substance; a mixture or substance containing a detectable amount of
Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and a mixture or

substance containing a detectable amount of Alprazolam (commonly known as Xanax), a Schedule

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IV Controlled Substance; within one thousand (1,000) feet of a real property comprising the Vista
Hermosa Public Housing Project (hereinafter “Vista Hermosa”), a housing facility owned by a
public housing authority, within one thousand (1,000) feet of a real property comprising a public
or private elementary, vocational, or secondary school, and within one thousand (1,000) feet of a
playground, all within the Municipality of San Juan, Puerto Rico. All in violation of Title 21,
United States Code, Sections 841(a)(1), 846, and 860.

Specifically, [51] JOSE A. LOPEZ-MAGRIS acted as a seller for this drug trafficking
organization. Several kilograms of cocaine, cocaine base (crack), heroin, a detectable amount of
marijuana, and Oxycodone and Alprazolam were sold during the course of the conspiracy,
however for purposes of his plea agreement, the defendant is held responsible for the possession
with intent to distribute and the distribution of at least 500 grams but less than 2 kilograms of
cocaine. This all occurred within 1,000 feet of a housing facility owned by a public housing
authority, within 1,000 feet of a property comprising a public or private elementary, vocational, or
secondary school, and within 1,000 feet of a playground.

The United States would have proven these facts beyond a reasonable doubt through

physical, testimonial and documentary evidence such as, but not limited to, video recordings,

photographs, and the testimony of agents from the Police of Puerto Rico, HSI, and cooperating

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witnesses, in addition to experts from the DEA Laboratory and CBP Laboratory, among others

All discovery was timely provided to defendant.

DVD

Vanessa E. Bonhomme

Assistant United States Attorney
Dated: 7 9]

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3B \ Jose A. LonM toon °
Defendant

Dated: 27/201 7

 

 

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